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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 ROBERT KEATHLEY,

       Petitioner,                           Civil Case No. 13-15300
                                             Criminal Case No. 04-80335
 v.                                          Hon. Gerald E. Rosen

 UNITED STATES OF AMERICA,

      Respondent.
 _________________________________/

          OPINION AND ORDER DENYING PETITIONER’S
      MOTION UNDER 28 U.S.C. § 2255 TO VACATE HIS SENTENCE

                         At a session of said Court, held in
                      the U.S. Courthouse, Detroit, Michigan
                      on          December 15, 2016

                     PRESENT:      Honorable Gerald E. Rosen
                                   United States District Judge

                              I. INTRODUCTION

       By judgment entered on February 14, 2007, Petitioner Robert Keathley was

 sentenced to a 252-month term of imprisonment, following his plea of guilty to

 charges of conspiracy to distribute over 1,000 kilograms of marijuana and

 conspiracy to launder monetary instruments. Petitioner’s sentence was later

 reduced to a 152-month term of imprisonment in an amended judgment dated
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 March 9, 2011.1 Petitioner did not appeal from his initial or amended judgments

 of conviction.

        Through the present motion brought under 28 U.S.C. § 2255 with the

 assistance of counsel, Petitioner challenges his sentence as contrary to the rule

 announced by the Supreme Court in Alleyne v. United States, __ U.S. __, 133 S.

 Ct. 2151 (2013). Although this motion was filed well beyond the usual one-year

 period of limitation for seeking relief under § 2255, Petitioner contends that it was

 timely filed within a year after Alleyne was decided. Alternatively, Petitioner

 suggests that he is entitled to equitable tolling of § 2255’s period of limitation. As

 discussed below, the Court finds that Petitioner’s motion was not timely filed, and

 that his appeal to Alleyne lacks merit in any event.

                                     II. ANALYSIS

        Under the plain language of the statute itself, a motion under 28 U.S.C. §

 2255 challenging the lawfulness of a conviction or sentence ordinarily must be

 filed within one year of “the date on which the judgment of conviction becomes

 final.” 28 U.S.C. § 2255(f)(1). In this case, Petitioner did not pursue a direct

 appeal of his conviction or sentence, so his initial judgment of conviction became


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        At the time of Petitioner’s guilty plea and initial and amended sentencing, District
 Judge Victoria A. Roberts presided over this case. By order dated April 17, 2013, the
 case was reassigned to the undersigned District Judge.

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 final in February of 2007, upon the expiration of the ten-day period for filing a

 notice of appeal. See Sanchez-Castellano v. United States, 358 F.3d 424, 428 (6th

 Cir. 2004).2 Even assuming that Petitioner’s amended sentence gave rise to a

 renewed one-year period for seeking relief under § 2255, Petitioner again did not

 appeal from this amended judgment of conviction, so it became final in March of

 2011. It follows that Petitioner’s present motion, which was filed in October of

 2013, was brought at least a year and a half past the expiration of § 2255’s usual

 one-year deadline.

        Petitioner proposes two means of avoiding this time bar, but neither carries

 the day. First, he appeals to a provision in § 2255 that permits the filing of a

 motion within a year of “the date on which the right asserted [in the motion] was

 initially recognized by the Supreme Court, if that right has been newly recognized

 by the Supreme Court and made retroactively applicable to cases on collateral

 review.” 28 U.S.C. § 2255(f)(3). In Petitioner’s view, the Supreme Court’s

 decision in Alleyne supplies the requisite “newly recognized” right, and he filed

 the present motion within a year after this case was decided. The problem,



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         Following a 2009 amendment, Fed. R. App. P. 4(b)(1)(A) now allows for a 14-
 day period for appealing a judgment of conviction in a criminal case. The version of this
 rule that was in effect at the time of Petitioner’s initial sentencing, however, required that
 a notice of appeal be filed within ten days after the entry of judgment.

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 however, is that the Sixth Circuit has squarely held that “Alleyne does not apply

 retroactively to cases on collateral review.” In re Mazzio, 756 F.3d 487, 491 (6th

 Cir. 2014). Consequently, this Supreme Court ruling does not satisfy each of the

 conditions set forth in § 2255(f)(3) for triggering a renewed one-year period of

 limitation.

       In apparent recognition of this, Petitioner suggests in his reply brief that his

 motion is saved from § 2255’s one-year period of limitation by the doctrine of

 equitable tolling, where he was (i) delayed in obtaining counsel due to lack of

 funds, and (ii) unaware of the statutory one-year limit for seeking relief. As to

 Petitioner’s first argument, because he has no constitutional right to counsel in

 these § 2255 proceedings, see Pennsylvania v. Finley, 481 U.S. 551, 555, 107 S.

 Ct. 1990, 1993 (1987); Brown v. United States, No. 01-1481, 20 F. App’x 373,

 375 (6th Cir. Sept. 21, 2001), Petitioner’s inability to secure the funds needed to

 hire an attorney does not excuse him from exercising the required diligence to

 ensure that his § 2255 motion was timely filed. Regarding Petitioner’s claimed

 lack of awareness of § 2255’s one-year statute of limitation, the courts have held

 that “[i]gnorance of the limitations period does not toll” this period. Brown, 20 F.

 App’x at 375; see also Brown v. McKee, 232 F. Supp.2d 761, 767 (E.D. Mich.

 2002); Rodriguez v. Elo, 195 F. Supp.2d 934, 936 (E.D. Mich. 2002). Thus, as the

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 Supreme Court has emphasized, “we have never accepted pro se representation

 alone or procedural ignorance as an excuse for prolonged inattention when a

 statute’s clear policy calls for promptness.” Johnson v. United States, 544 U.S.

 295, 311, 125 S. Ct. 1571, 1582 (2005).3

        Finally, even if Petitioner had timely filed his motion, and even if Alleyne

 were available here as a basis for collateral review of Petitioner’s sentence,

 Petitioner’s appeal to this Supreme Court ruling is factually flawed. Alleyne

 extended the principle recognized in Apprendi v. New Jersey, 530 U.S. 466, 120 S.

 Ct. 2348 (2000), to statutory minimum as well as maximum sentences, holding

 that any fact that increases a defendant’s mandatory statutory minimum sentence

 must be submitted to the jury and found beyond a reasonable doubt. See Alleyne,

 133 S. Ct. at 2155. As the Sixth Circuit has emphasized, however, Alleyne “left

 undisturbed our decisions holding that a defendant’s knowing admission of the

 facts necessary for an enhanced sentence is fatal to his Apprendi claim.” United

 States v. Johnson, 732 F.3d 577, (6th Cir. 2013); see also United States v. Yancy,

 725 F.3d 596, 601 (6th Cir. 2013).



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         It is not clear, in any event, what Petitioner might stand to gain if he were to show
 that § 2255’s period of limitation should be equitably tolled. His claim for relief, after all,
 rests solely on the Supreme Court’s decision in Alleyne, but this ruling, as explained, does
 not apply retroactively to Petitioner’s collateral attack on his sentence.

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        In this case, Petitioner was charged with conspiracy to distribute one

 thousand or more kilograms of marijuana, (see First Superseding Indictment at 2),

 and he pled guilty to this offense pursuant to a Rule 11 plea agreement, (see Rule

 11 Plea Agreement at 1-2; see also 6/26/2006 Plea Hearing Tr. at 12-13).

 Petitioner’s guilty plea to this charged drug offense triggered a statutory

 sentencing range of 10 years to life, see 21 U.S.C. § 841(b)(1)(A), a range that was

 set forth in Petitioner’s plea agreement, (see Rule 11 Plea Agreement at 2), and

 that Petitioner expressly acknowledged at his plea hearing, (see 6/26/2006 Plea

 Hearing at 8).4 Accordingly, because Petitioner’s statutory sentencing range was

 determined entirely by his guilty plea and corresponding factual admissions, and

 was not increased as a result of any factual findings by the sentencing court, the

 principle announced in Alleyne is not applicable here.

        To be sure, the application of the U.S. Sentencing Guidelines in this case

 resulted in an advisory guideline range of 360 months to life. (See Rule 11 Plea

 Agreement at 7.) Yet, as the Sixth Circuit has explained, “Alleyne dealt with



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         Petitioner and his counsel deny these plain facts in the present motion, asserting
 that the threshold one thousand kilograms of marijuana that triggered a 10-years-to-life
 statutory sentencing range was neither charged in the indictment nor admitted to under
 oath at Petitioner’s plea hearing. (See Petitioner’s § 2255 Motion at 5-6, 10, 16.) The
 Court cautions counsel, in particular, that such misrepresentations of the record are
 inappropriate and may trigger the imposition of sanctions. See Fed. R. Civ. P. 11(b)(3).

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 judge-found facts that raised the mandatory minimum sentence under a statute, not

 judge-found facts that trigger an increased guideline range.” United States v.

 Cooper, 739 F.3d 873, 884 (6th Cir. 2014). Thus, judicial factfinding that

 produces an increased advisory range under the Sentencing Guidelines does not

 run afoul of Alleyne or Apprendi, so long as this guideline range falls within the

 underlying statutory sentencing range determined through a jury’s findings or the

 defendant’s factual admissions. See Cooper, 739 F.3d at 884; United States v.

 Carter, No. 14-1091, 604 F. App’x 470, 473 (6th Cir. March 19, 2015).

        In any event, Petitioner admitted to the facts that determined his 360-

 months-to-life guideline range in his Rule 11 plea agreement and the

 accompanying worksheets. (See Rule 11 Plea Agreement at 3, 7-8, Worksheet A.)

 He then affirmed these facts, with the exception of his supervisory role, at his plea

 hearing. (See 6/26/2006 Plea Hearing Tr. at 13-14).5 Thus, even if these facts

 could be deemed elements of the charged offense — though it is clear that they are

 not — Petitioner’s admission to the facts that triggered each enhancement under


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          Petitioner and his counsel once again have misrepresented this record, claiming
 that Petitioner did not admit to the facts that triggered enhancements under the Sentencing
 Guidelines for a quantity of marijuana in excess of the 1000-kilogram statutory threshold,
 for possession of a firearm in connection with the charged drug conspiracy offense, and
 for his supervisory role. (See Petitioner’s § 2255 Motion at 5-6, 8, 10, 16; Petitioner’s
 Reply at ¶¶ 7-8; Petitioner’s Reply Br. at 8.) Counsel again are admonished to ensure that
 their submissions to the Court do not mischaracterize the record in this fashion.

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 the Sentencing Guidelines would defeat his appeal to Alleyne. See Johnson, 732

 F.3d at 583-84; United States v. Khan, No. 11-20540, 2016 WL 6650334, at *6

 (E.D. Mich. Nov. 10, 2016).

                                III. CONCLUSION

       For the reasons set forth above,

       NOW, THEREFORE, IT IS HEREBY ORDERED that Petitioner’s motion

 under 28 U.S.C. § 2255 to vacate, set aside, or correct his sentence (docket #399)

 is DENIED as untimely filed well beyond § 2255’s one-year period of limitation.

       Next, IT IS FURTHER ORDERED that, in the event that Petitioner might

 seek to appeal any of the Court’s rulings in the present opinion and order, a

 certificate of appealability should be DENIED as to each claim asserted in

 Petitioner’s § 2255 motion and as to the Court’s determination that this motion

 was not timely filed, where (i) Petitioner has failed to make a substantial showing




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 of the denial of a constitutional right, and (ii) the Court’s determination as to the

 unavailability of § 2255 relief is not reasonably open to debate under the facts

 presented here.

                                         s/Gerald E. Rosen
                                         United States District Judge

 Dated: December 15, 2016

 I hereby certify that a copy of the foregoing document was served upon the parties
 and/or counsel of record on December 15, 2016, by electronic and/or ordinary
 mail.

                     s/Julie Owens
                     Case Manager, (313) 234-5135




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